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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


   UNITED THERAPEUTICS                       )
   CORPORATION,                              )
                                             )      C.A. No. 20-755-RGA
                        Plaintiff,           )
                                             )      REDACTED -
          v.                                 )
                                             )      PUBLIC VERSION
   LIQUIDIA TECHNOLOGIES, INC.,              )
                                             )
                        Defendant.           )

   BRIEF IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
   OF INVALIDITY OF THE ’066 AND ’901 PATENTS FOR COLLATERAL ESTOPPEL

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   I.     INTRODUCTION

          Liquidia seeks to misapply collateral estoppel to invalidate two of the three patents in this

   suit—barely more than six weeks from trial by the time its motion is fully briefed—by ignoring

   significant claim limitations not previously adjudicated. Liquidia glosses over disputed issues of

   material fact that prevent application of a conclusion reached in a different forum employing a

   different burden of proof addressing different claims of a different patent. At bottom, Liquidia’s

   argument is built on an erroneous application of law and incorrect assertions of disputed facts.

          The core question for the Court is whether there are “differences between the unadjudicated

   patent claims and adjudicated patent claims” that “materially alter the question of validity.” The

   answer here is yes. Liquidia sidesteps this question, focusing instead on alleged similarities

   between a product it contends is a proxy for previously-adjudicated ’393 patent claims and a

   product allegedly embodying the claims asserted here while ignoring the undisputed differences

   between the claims of these patents and their impact on the invalidity analysis. Indeed, Liquidia

   sought to initiate an inter partes review (IPR) of the ’066 patent at issue here based on the same

   art and arguments it now claims have preclusive effect. The Board held that Liquidia failed to clear

   the lenient burden required for IPR institution because it ignored claim limitations just like it does

   here. Thus, Liquidia seeks to shirk its burden of proving invalidity by clear and convincing

   evidence and force UTC to affirmatively prove validity by identifying differences in claim scope

   that impact the validity analysis. These legal errors doom Liquidia’s motion.

          An analysis under the proper legal framework reveals that the undisputed differences in the

   asserted claims materially impact the invalidity analysis. Some asserted claims are an entirely

   different statutory class of invention compared to the previously adjudicated claims. All asserted

   claims contain express limitations absent from the previously adjudicated claims. These

   differences must be accounted for as part of an invalidity analysis, and thus preclude application



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   of collateral estoppel. Moreover, determining how differences in the claims impact the invalidity

   analysis requires, in part, resolving hotly contested material facts. These are issues that should be

   resolved at trial with a full and fair opportunity to address factual disputes.

   II.          NATURE AND STAGE OF THE PROCEEDINGS

                Liquidia’s motion for leave requested summary judgment only of product-by-process

   claims. Yet Liquidia moved for summary judgment on all asserted claims, including method

   claims. This is improper. Determining validity for method claims is an altogether different analysis

   than is undertaken for determining validity of product-by-process claims, which makes Liquidia’s

   motion futile. See § 4(C)(1), infra. Second, Liquidia’s collateral estoppel argument effectively

   circumvents 35 U.S.C. § 315(e)(2)’s prohibition on asserting the same prior art in district court

   that was raised (or reasonably could have been raised) in its ’901 patent IPR petition. Indeed,

   Liquidia failed to prove obviousness of method claims 6 and 7 in the ’901 patent IPR (Flynn Dec.1

   Ex. 1) at 62), and now Liquidia pivots to collateral estoppel where it would be barred by § 315(e)(2)

   from making the underlying arguments.

   III.         SUMMARY OF ARGUMENT

                Liquidia’s argument fails for three primary reasons. First, the validity of the process claims

   at issue here is different from the validity issue litigated in the ’393 IPR because the ’393 patent

   IPR addressed only product-by-process claims. The invalidity analyses for process versus product-

   by-process claims are fundamentally different. Second, limitations of the unadjudicated claims of

   the ’066 and ’901 patents not present in the previously adjudicated claims of a different patent

   materially alter the validity analysis. For example, unadjudicated limitations impart structural and

   functional characteristics on the claimed products that must be considered for purposes of


          1
              The Declaration of Michael Flynn (“Flynn Dec.”) is filed concurrently with this brief.



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   determining validity. Third, determining whether the additional limitations materially alter the

   validity analysis requires resolving disputed issues of material fact.

          Liquidia baldly asserts that the claimed products are the “same” as the ’393 product, but

   that is the wrong analysis. Liquidia provides no analysis of the proper inquiry—how these new

   claims limitations are wholly immaterial to the validity analysis. Liquidia simply ignores the claim

   language in favor of out-of-context statements about particular commercial embodiments and

   treats the ’393 patent itself as prior art. As the ’393 IPR panel noted, the “challenged claims contain

   no limitations relating to the impurity profile of the recited product, ‘and it is the claims ultimately

   that define the invention.’” D.I. 282 Ex. 4 (“’393 FWD”) at 18; id. at 42 (“the ’393 patent itself

   does not discuss any of the individual impurities”). Yet the claims at issue here have that very

   limitation. E.g., ’066 patent, cl. 1 (“whereby a level of one or more impurities found in the starting

   batch of treprostinil is lower”). At the summary judgment stage, when drawing all reasonable

   inferences in favor of the nonmoving party, and not making credibility determinations or weighing

   evidence, genuine issues of material fact preclude collateral estoppel.

   IV.    COUNTERSTATEMENT OF FACTS

          A.      The Inventions Have Improved Impurity Characteristics and Provide New
                  Functional Utility Through an API Stable at Ambient Temperature




                                                     . In May 2002, FDA approved Remodulin.




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                          See Walsh Dec. ¶ 13.2 UTC discovered that through use of the innovative

   technique it could eliminate almost all observable impurities. See Flynn Dec. Ex. 3 at 71:11-18.

   This new synthetic route allows for meaningfully more pure pharmaceutical compositions and

   products and intermediate forms having increased stability without degradation. See id. at 32:7-

   14; Walsh Dec. ¶¶ 10-14; Flynn Dec. Ex. 4 at UTC_LIQ00141428-437.




                                                                                 This means that, for

   example, if the sample being analyzed is more pure than the reference standard it is tested against,

   then that can cause a purity assay figure above 100%. Walsh Dec. ¶ 15. The ’393 IPR did not

   analyze the nature and level of impurities present in the treprostinil product, only absolute purity

   with respect to a reference standard. See also Flynn Dec. Ex. 6.



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              The Declaration of David A. Walsh (“Walsh Dec.”) is filed concurrently with this brief.



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          B.      The Asserted Claims Include Unadjudicated, Materially Different
                  Limitations

          The asserted claims of the ’066 and ’901 patents include numerous limitations explicitly

   narrowing the claims relative to those in the ’393 patent. The following underlined limitations

   were not previously litigated or considered in the ’393 IPR include:

       A “pharmaceutical composition” . . . “providing a starting batch of treprostinil having one or
        more impurities resulting from prior alkylation and hydrolysis steps” . . . “whereby a level of
        one or more impurities found in the starting batch of treprostinil is lower in the pharmaceutical
        composition” (’066 Patent, Cls. 1-7);

       a “pharmaceutical composition” . . . “wherein the isolated salt is stored at ambient
        temperature” (id., Cl. 6);

       a “process of preparing a pharmaceutical product” . . . by “forming a salt of treprostinil stable
        at ambient temperature, storing the Treprostinil salt at ambient temperature, and preparing a
        pharmaceutical product from Treprostinil salt after storage” (id., Cl. 8);

       the pharmaceutical product prepared by the process of claim” (id., Cl. 9);

       a “pharmaceutical batch” consisting of “impurities resulting from [claimed steps]” (’901
        Patent, Cl. 1); and

       a “method of preparing a pharmaceutical product from a pharmaceutical batch as claimed in
        claim 1, comprising storing a pharmaceutical batch of a salt of treprostinil as claimed in claim
        1 at ambient temperature, and preparing a pharmaceutical product from the pharmaceutical
        batch after storage.” (id., Cl. 6).

   These limitations implicate every asserted claim and require comparing the claims-at-issue to the

   prior art in a manner never contemplated by the ’393 FWD.

          The USPTO has determined during examination and in adversarial proceedings that these

   claims create validity issues distinct from those that apply to the ’393 patent. During prosecution,

   the Examiner considered every argument presented in the ’393 IPR and determined that there was

   “no basis” to conclude that Moriarty and/or Phares teach the impurity profile recited in the asserted




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   claims.3 See Flynn Dec. Ex. 7 at 3143; Flynn Dec. Ex. 8 at 6776. Moreover, Liquidia attacked both

   the ’901 and ’066 patents in IPR petitions asserting the same references used in the ’393 IPR. The

   Board denied institution on the ’066 patent explaining that the prior art did not suggest a

   limitation—the change in impurities—not present in the ’393 patent claims. Flynn Dec. Ex. 6 at

   13-15. Similarly, the Board concluded that two claims of the ’901 patent, with limitations distinct

   from the ’393 patent, were not invalid over the same prior art asserted in the ’393 IPR.

          C.      The Validity Issues in this Case Were Not Decided in the ’393 IPR

          The Board only considered the “product” resulting from the ’393 claims’ product-by-

   process steps, and those claims had no limitations regarding the impurities present in the claimed

   “product” and instead focused on the treprostinil compound itself. D.I. 282 Ex. 4 (’393 FWD) at

   18 (“the challenged claims contain no limitations relating to the impurity profile of the recited

   product, ‘and it is the claims ultimately that define the invention.’”) (citation omitted). The Board

   used the broadest reasonable interpretation standard in construing the ’393 claims, and in so doing

   rejected the proposed construction of “product” as “having the impurity profile conferred by

   performance of the recited process steps.” ’393 FWD at 13.

          The Board determined that the “product” of the adjudicated claims in the ’393 patent did

   not require any particular impurity profile conferred by the recited process steps. See ’393 FWD

   at 34. Indeed, only two dependent claims of the ’393 patent had any limitation on purity of the

   then-claimed treprostinil “product.” The broad ’393 patent claims proved fatal to validity before



          3
            Liquidia states that “UTC did not inform the Examiner … of the ’393 FWD.” Br. (D.I.
   292) at 9. The FWD was not issued until after the issuance of the ’901 and ’066 patents, so it
   could not be shared with the Examiner. UTC did, however, provide the Examiner with the
   evidence and arguments from the IPR. See, e.g., Flynn Dec. Ex. 7 at UTC_LIQ00000072-73,
   UTC_LIQ00000095-96, UTC_LIQ00001115-1116, UTC_LIQ00003163-3165; Flynn Dec. Ex. 8
   at UTC_LIQ00003580-81, UTC_LIQ00003725-26, UTC_LIQ00004742-45,
   UTC_LIQ00006821-23; Fawzi Dec. Ex. 2 at ¶¶68-73.



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   the Board because those claims covered batches of treprostinil “product” with a purity percentage

   similar to prior art product. See ’393 FWD at 25.

   V.     LEGAL STANDARDS

          A.      Summary Judgment of Collateral Estoppel

          Liquidia bears the burden of demonstrating the absence of a genuine issue of material fact.

   See Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 585-86 (1986). Only if

   Liquidia carries this burden must UTC “come forward with ‘specific facts showing that there is a

   genuine issue for trial.’” Id. at 587 (citing Fed. R. Civ. P. 56(e)). Courts must “draw all reasonable

   inferences in favor of the nonmoving party, and it may not make credibility determinations or

   weigh the evidence.” Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000).

          When applying collateral estoppel, “it is well settled that each claim of a patent is entitled

   to a presumption of validity and is to be treated as a complete and independent invention.”

   Interconnect Planning Corp. v. Feil, 774 F.2d 1132, 1137 (Fed. Cir. 1985) (citation omitted); 35

   U.S.C. § 282 (patents are “presumed valid”). Similarly, it is “presumed that different words used

   in different claims result in a difference in meaning and scope for each of the claims.” Clearstream

   Wastewater Sys., Inc. v. Hydro-Action, Inc., 206 F.3d 1440, 1446 (Fed. Cir. 2000). “If the scope

   of a subsequent patent claim differs from that of a prior patent claim, a new issue of patent validity

   exists[.]” Evonik Degussa GmbH v. Materia Inc. 53 F. Supp.3d 778, 791-2, (D. Del. 2014).

          Liquidia’s burden to prove invalidity by clear and convincing evidence is measured claim-

   by-claim. See 35 U.S.C. § 282; Knoll Pharma. Co., v. Teva Pharmaceuticals USA, Inc., 367 F.3d

   1381, 1384 (Fed. Cir. 2004); Ohio Willow Wood Co. v. Alps South, LLC, 735 F.3d 1333, 1343

   (Fed. Cir. 2013) (examining “how” each “limitation changes the invalidity analysis”).

          To apply collateral estoppel, the Third Circuit requires “(1) the issue sought to be precluded




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   [is] the same as that involved in the prior action; (2) that issue [was] actually litigated; (3) it [was]

   determined by a final and valid judgment; and (4) the determination [was] essential to the prior

   judgment.” Karns v. Shanahan, 879 F.3d 504, at 514 n.3 (3d. Cir. 2018). Under the first factor,

   “[i]ssues are not identical if the second action involves application of a different legal standard,

   even though the factual setting of both suits may be the same.” B & B Hardware v. Hargis Indus.,

   575 U.S. 138, 154 (2015); SkyHawke Techs. v. Deca Int’l, 828 F.3d 1373, 1376 (Fed. Cir. 2016);

   TRUSTID, Inc. v. Next Caller, 2021 WL 3015280, at *3 (D. Del. July 6, 2021).

           B.      Process Claims and Product-by-Process Claims Have Fundamentally
                   Different Validity Analyses, Yet Both Require Factual Determinations

           Process claims and product-by-process claims have materially distinct validity analyses.

   See, e.g., Torpharm, Inc. v. Ranbaxy Pharmas., 336 F.3d 1322, 1329-30 (Fed. Cir. 2003) (holding

   invalid product claims could not collaterally estop process claims). At the outset of any validity

   analysis, the claims first must be construed to properly determine the scope of the claim. Markman

   v. Westview Instruments, 52 F.3d 967, 996 n.7 (Fed. Cir. 1995). To determine validity of process

   claims, courts conduct a “fact-intensive comparison of the claimed process with the prior art.” In

   re Ochiai, 71 F.3d 1565, 1571 (Fed. Cir. 1995). Each process limitation must be taught by the

   prior art. The validity of product-by-process claims is analyzed based on the claimed product as

   impacted by the recited process. The trier of fact must determine—as a matter of fact—whether

   process limitations, which expressly define the product, impart structural or functional differences

   to the claimed product. See Amgen Inc. v. F. Hoffman-La Roche Ltd., 580 F.3d 1340, 1367, 1370

   (Fed. Cir. 2009). When limitations “impart[] structural and functional differences distinguishing

   the claimed product from the prior art, then those differences are relevant as evidence” to the

   obviousness inquiry. Greenliant Sys., Inc. v. Xicor LLC, 692 F.3d 1261, 1268 (Fed. Cir. 2012)

   (internal quotes omitted). Once the claims have been properly construed, to assess if collateral




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   estoppel applies, the fact finder must determine:

           whether the nonlitigated claims present new issues as to the art pertinent to the nonlitigated
           claims; as to the scope and content of that art; as to the differences between the prior art
           and the nonlitigated claims; and as to the level of ordinary skill in that art. If none of these
           inquiries raises any new triable issues, then the obviousness determination in the prior
           proceeding should be equally applicable to the nonlitigated claims.

   Westwood Chem., Inc. v. United States, 525 F.2d 1367, 1375 (Ct. Cl. 1975).

   VI.     ARGUMENT

           A.       Liquidia’s Motion is Procedurally Barred

                    1.      Liquidia Failed to Timely Disclose its Collateral Estoppel Defense

           Collateral estoppel is “an affirmative defense ordinarily lost if not timely raised.” Arizona

   v. California, 530 U.S. 392, 410, 120 (2000). Liquidia never articulated a collateral estoppel

   challenge in its answer or invalidity contentions. This motion should be denied on this

   independent basis alone. See Blonder-Tongue Labs. v. Univ. of Ill. Found., 402 U.S. 313, 350

   (1971) (“collateral estoppel [is] [an] affirmative defense[] that must be plead[]. Fed. Rule Civ.

   Proc. 8(c).”); Jackson Jordan, Inc. v. Plasser Am. Corp., 747 F.2d 1567, 1578 (Fed. Cir. 1984)

   (“If . . . there was a failure to plead collateral estoppel, we question the equity of interjecting this

   issue at a late stage of trial[.]”).

                    2.      Liquidia Failed to Provide an Adequate Explanation of its Defense

           As noted above, the relevant question is whether differences in the asserted claims

   materially impact the previously-adjudicated invalidity analysis, but Liquidia has not clearly

   identified the specific ground of invalidity that it relies upon. Rather, Liquidia argues that the

   asserted patents are “invalid over the Moriarty grounds presented in the ’393 FWD.” Br. 14. Yet,

   the ’393 IPR was not instituted on a single reference Moriarty ground (’393 FWD at 7), and the

   ’393 patent was not held to be anticipated by Moriarty (id. at 43). Liquidia admits as much. Br.

   5. Here, Liquidia has never contended that any prior art publication anticipates the asserted



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   patents. Any such argument first raised in reply has been forfeited. There can be no collateral

   estoppel where Liquidia has not identified a specific basis of invalidity previously adjudicated and,

   at best, has articulated an invalidity argument never before raised, whether in this litigation or the

   ’393 IPR.

           B.      Liquidia Addressed the Wrong Question and Has Not Proved That “the
                   Issue of Invalidity Common to Each Action is Substantially Identical”

           “[T]he correct standard for whether collateral estoppel applies in a patent case is not

   whether the claims are substantially identical, but ‘whether the issue of invalidity common to each

   action is substantially identical.’” Purdue Pharma L.P. v. Mylan Pharms. Inc., 2017 WL 2569604,

   at *1 (D. Del. June 13, 2017) (quoting Westwood Chem., 525 F.2d 1367 at 1372). Rather than

   analyze how “the differences between the unadjudicated patent claims and adjudicated patent

   claims” impact the validity analysis, Liquidia erroneously focuses on the similarities between the

   claims at-issue. D.I. 282 at 5 (“The ’066 and ’901 patents describe and claim the same treprostinil

   product made by the same process as the ’393 patent.”); see also id. at 6, 7, 11-13, 15-17, 19.

   Liquidia’s failure to address the how is fatal to its argument. Willow Wood, 735 F.3d at 1342. Only

   by ignoring unique claims can Liquidia argue—over fifty times—that all the subject matter is the

   “same.” Merely saying it, ad nauseum, does not make it so. Even if asserted claims cover the

   “same product” as the ’393 patent claims, that is not the legally relevant inquiry; the ’393 patent

   is not prior art. See Interconnect Planning Corp., 774 F.2d at 1137 (“The original claims, whether

   valid or invalid, are not prior art”).

           Notably, courts do “not read Willow Wood to relieve [the movant] for summary judgment

   of invalidity . . . asserting the collateral estoppel effect of a prior judgment, from the various

   burdens it must bear to prevail on that motion.” Horizon Med. v. Dr. Reddy’s Labs., 2021 WL




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   616067, at *3 (D.N.J. Feb. 17, 2021).4 Liquidia’s failure to prove by clear and convincing evidence

   that the claim limitations of the ’066 and ’901 patents “do not materially alter the question of

   validity” is dispositive. These differences materially alter the question of validity and preclude

   summary judgment.

          C.      Differences Between the Claims and Evidence Impact the Validity Analysis
                  and Raise New Triable Issues of Material Fact

                  1.      The Process/Method Claims Require a Materially Different Validity
                          Analysis

          The ’393 IPR panel considered only product-by-process claims, a special class of product

   claims, and never considered the process and method limitations at issue in this case: claim 8 of

   the ’066 patent and claim 6 of the ’901 patent. By law, the Board ignored any process steps in the

   previously adjudicated product claims unless those processes explicitly defined the product or

   imparted structural limitations on the claimed product. E.g., ’393 FWD at 28-29 (explaining the

   “general rule” of focusing on the product and not the process of making it); A.K. Stamping Co. v.

   Instrument Specialties Co., 106 F.Supp.2d 627, 661 n.8. Every limitation of the process claims

   must be considered, regardless of impact on the final product. Purdue Pharma, 2017 WL 2569604,

   at *1. Further, limitations not present in the ’393 patent claims include:

      “A process of preparing a pharmaceutical product” . . . by “forming a salt of treprostinil stable
      at ambient temperature, storing the Treprostinil salt at ambient temperature, and preparing a
      pharmaceutical product from Treprostinil salt after storage” (’066 Patent, Cl. 8)

      “A method of preparing a pharmaceutical product from a pharmaceutical batch as claimed in
      claim 1, comprising storing a pharmaceutical batch of a salt of treprostinil as claimed in claim
      1 at ambient temperature, and preparing a pharmaceutical product from the pharmaceutical
      batch after storage.” (’901 patent, Cl. 6)

   The fact that that these limitations must be considered is fatal to Liquidia’s collateral estoppel


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             In Willow Wood it was “without dispute” that the asserted claims were not materially
   different from the invalidated claims. Willow Wood, 735 F.3d at 1342. Here, there is very much
   a dispute; the claims are undeniably different in scope.



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   argument, especially at summary judgment. The issues are simply not the same.

           Liquidia states blithely that “the additional limitations regarding storing . . . at ambient

   temperature and preparing . . . after storage . . . do not materially alter the question of invalidity

   because these claims are still substantially similar to the invalidated claims—all require the

   process steps of alkylation, hydrolysis, and salt formation.” Br. (D.I. 292) at 19 (emphasis added,

   internal quotes omitted). Liquidia cannot prove sameness of the invalidity analysis by highlighting

   similarity and ignoring distinctions in the claims. See Purdue Pharm., 2017 WL 2569604, at *1

   (“the correct standard for whether collateral estoppel applies in a patent case is not whether the

   claims are substantially identical”). The issue is not the similarity but whether the additional

   limitations materially alter the validity analysis. Id. Neither Liquidia nor the ’393 IPR examined

   the “stab[ility],” “temperature,” “storing” and “preparing” limitations in light of the prior art. ’066,

   Cl. 8; ’901, Cl. 6. To be clear, the relevant validity analysis is to the prior art, not the ’393 patent.

   See Bourns, Inc. v. U. S., 537 F.2d 486, 493 (Ct. Cl. 1976) (“A domino approach in which each

   successively narrower claim is compared with the one before it, not with the prior art, is

   inappropriate since it improperly gives prior-art effect to the subject matter of an invalid claim.”).

           Similarly, Liquidia argues that “the ‘storage’ limitation is an inherent property of the

   claimed product of the ʼ066, ʼ901, and ʼ393 patents” Br. (D.I. 292) at 19-20. But, again, the ’393

   patent is not prior art. See Interconnect Planning Corp., 774 F.2d at 1138 (“The invention must be

   viewed not with the blueprint drawn by the inventor, but in the state of the art that existed at the

   time”). The ’393 Board never considered “storage” when adjudicating the issue of validity in the

   ’393 IPR. Moreover, the question of “inherency” in the prior art—which Liquidia does not even

   allege—raises a genuine issue of material fact. See Purdue Pharma L.P. v. Mylan Pharms. Inc.,

   2017 WL 784989, at *7 (D. Del. Mar. 1, 2017) (“A party must meet a high standard to rely on




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   inherency in establishing the existence of a claim limitation in the prior art in an obviousness

   analysis.”); Finnigan Corp. v. Int’l Trade Comm’n., 180 F.3d 1354, 1362 (Fed. Cir. 1999)

   (“Whether a claim limitation is inherent in a prior art reference . . . is also a question of fact.”).

   Because the “stab[ility],” “temperature,” “storing” and “preparing” limitations were never

   considered by the ’393 IPR panel, the validity analysis is necessarily altered by the inclusion of

   these materially different limitations.

          Liquidia’s challenge also fails as a matter of fact. When evaluating collateral estoppel,

   “[w]here obviousness is the basis for the prior invalidity holding, an inquiry into the identity of

   the validity issue is more properly phrased in terms of the factual inquiries mandated by Graham

   v. John Deere [], as a prerequisite to such a validity determination.” Westwood Chem. 525 F.2d at

   1375. Accordingly, “the inquiry should be whether the nonlitigated claims present new issues as

   to [the Graham factors].” Id.; Ruiz v. A.B. Chance Co., 234 F.3d 654, 663 (Fed. Cir. 2000)

   (vacating obviousness finding because district court failed to make findings of fact and erred in

   failing to consider secondary considerations); Syntex (U.S.A.) LLC v. Apotex, Inc., 407 F.3d 1371,

   1378 (Fed. Cir. 2005) (explaining the Graham “factual determinations” needed for a determination

   of obviousness). Liquidia ignores the Graham factors. These “factual determinations” uniformly

   and materially alter the validity analysis for the unadjudicated asserted process claims due to

   limitations not previously litigated, considered, or decided in the ’393 IPR.

                  2.      Limitations Defining the Claimed Product Materially Alter the Validity
                          Analysis

          Liquidia takes the same legally impermissible shortcuts with the product-by-process claims

   as it does with the process claims. Liquidia ignores the factual Graham factors relating to the

   unadjudicated asserted claims and asserts that “SteadyMed decided the identical invalidity issue

   here.” Br. (D.I. 292) at 12 (capitalization corrected). But the claims are undeniably different and,




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   in fact narrower. Joao Bock Transaction Sys., LLC v. Jack Henry & Assocs., Inc., No. 12-1138-

   SLR, n.34 (D. Del. Jun. 30, 2014) (holding “the issue of invalidity common to each action is not

   substantially identical” where new claims are narrower) (citation omitted)); Msm Investments Co.,

   LLC v. Carolwood Corp., 70 F.Supp.2d 1044, 1051 (N.D. Cal. 1999) (holding that narrower claims

   “raise new questions concerning the adequacy of the prior art to anticipate these claims”). Instead

   of analyzing whether the differences in the claims affect the invalidity analysis, Liquidia makes

   irrelevant assertions, like stating that the patents “share the same specification.” Id. Liquidia has

   not and cannot prove—certainly not without resolving disputed issues of material fact—that the

   validity analysis is not materially impacted by the asserted claims containing limitations never

   addressed in the ’393 IPR.

          Limitations in the unadjudicated claims define the claimed product and are not “minor

   variations.” Br. (D.I. 292) at 15.5 These product limitations materially alter the validity analysis

   because the ’393 IPR panel did not consider claims directed to the subject matter claimed in

   asserted claims, such as claim 1, and by dependency claims 2-7, of the ’066 patent:

          A “pharmaceutical composition” . . . “providing a starting batch of treprostinil having one
          or more impurities resulting from prior alkylation and hydrolysis steps” . . . “whereby a
          level of one or more impurities found in the starting batch of treprostinil is lower in the
          pharmaceutical composition” (’066 Patent, Cls. 1-7).

   Claim 1 of the ’066 patent explicitly claims a “composition” whereby “a level of one or more

   impurities found in the starting batch of treprostinil is lower in the pharmaceutical composition,”

   such that the structure of the composition is required to be different than it would have been had

   the patented process steps not been executed in accordance with the claimed invention. Thus, the

   “product” claimed by claim 1 of the ’393 patent is of a different scope than that of the ’066 claim


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             These allegedly “minor variations” were sufficiently material that the Board refused to
   institute an IPR of the ’066 patent based on the same evidence and arguments allegedly giving
   rise to collateral estoppel. Flynn Dec. Ex. 6 at 13-15.



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   1. Similarly, claim 1 of the ’901, and by dependency all asserted claims of the ’901 patent, ensures

   that the claimed “batch” consists of “impurities.” The ’393 patent makes no mention of a “starting

   batch” and had no limitations concerning “impurities.” Claim 1 of the ’066 patent, however,

   requires measuring impurities at two different time points and “lower[ing] one or more impurities

   found in the starting batch”6 through proper execution of the claimed process steps, thus ensuring

   the claimed composition has meaningfully improved impurity characteristics over what would

   have been possible using prior art methods.

           The ’393 IPR panel specifically determined that the “challenged claims contain no

   limitations relating to the impurity profile of the recited product, ‘and it is the claims ultimately

   that define the invention.’” ’393 IPR FWD at 18 (quoting Purdue Pharma L.P. v. Endo Pharm.

   Inc., 438 F.3d 1123, 1136 (Fed. Cir. 2006); id. at 42 (“We observe also that the ’393 patent itself

   does not discuss any of the individual impurities”). Rather, the Board only examined the purity of

   the treprostinil molecule claimed in the ’393 claims. As Liquidia’s expert candidly admits “the

   notion of purity and impurity profile are different.” Flynn Dec. Ex. 9 at 90:18-19, 84:8-92:2.

   Claims 1-7 of the ’066 patent expressly include impurity limitations that improve the claimed

   composition’s impurity profile. Thus, “the scope of [the] subsequent patent claim differs from that

   of a prior patent claim” such that “a new issue of patent validity exists[.]” Evonik Degussa GmbH,

   35 F. Supp. 3d at 791-792.

           Unlike the ’066 claims 1-7, the ’393 claims are agnostic to any particular impurity profile,

   thus requiring the trier of fact to examine the factual determinations of whether (1) the scope and

   content of the prior art concerning a pharmaceutical composition with a lower impurities resulting


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              Liquidia (n.11) misunderstands Dr. Toste. It is not that infringement is limited to
   impurities in the “starting materials,” rather Liquidia infringes because it lowers impurities from
   the “starting batch of treprostinil.” The “starting materials” is not the “starting batch of treprostinil”
   and the claimed lowering of impurities reduces the impurities in the final product.



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   from a particular step; (2) the differences between the claimed invention and the prior art; (3) the

   level of ordinary skill in the art; and (4) any secondary considerations. Even if the ’393 claims

   permit impurities, the claimed products are not limited by those impurities (only “purity”). The

   limitations of the ’066 patent’s claims 1-7 are materially narrower than the ’393 patent’s claims—

   questions of which impurities exist, how those impurities were limited, and what impurities the

   claimed “product” would or would not include were not analyzed by the Board. The unadjudicated

   claims thus alter the validity analysis as compared to the validity inquiry performed by the Board.

            Further, expert testimony establishes that new claim limitations capture structural and

   functional differences in the claimed products. Fawzi Dec.7 Ex. 2 at 3. Limitations discussed above

   such as “lower[ing] one or more impurities found in the starting batch,” “stab[ility]” and “storage”

   at “ambient temperature,” impart differences in structure and function of the claimed product. For

   example, “treprostinil itself is a relatively unstable molecule,” but treprostinil manufactured under

   the asserted claims is “much more chemically and thermally stable” and “greatly improved the

   purity of the final product.” Flynn Dec. Ex. 3 at 27:17-34:5; 40:14-43:14; Walsh Dec. ¶¶ 10-12.

   Specifically, the asserted claims “boast[] numerous improvements” over the prior “Moriarty

   process” and resulting product providing “exceptionally pure treprostinil with a desirable impurity

   profile.” Fawzi Dec. Ex. 2 at 30. These structural and functional differences in the treprostinil

   diethanolamine salt “formed in the process exhibited unexpected stability at ambient temperature

   in contrast to treprostinil itself, which is a compound requiring refrigeration or freezing

   temperatures for storage and transport.” Fawzi Dec. Ex. 2 at 31. The fact that the product resulting

   from the prior art process would quickly degrade at ambient temperature such that it could not be

   stored for any practical purpose without refrigeration demonstrates the difference in structure and


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          The Declaration of Mahdi Fawzi (“Fawzi Dec.”) is filed concurrently with this brief.



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   function conferred by the claims of the ’066 and ’901 patents. See Walsh Dec. ¶¶10-12.

          The asserted claims “provide[] a product with significantly greater total purity and [a]n

   improved impurity profile at commercially relevant scales compared to the prior art processes.”

   Fawzi Dec. Ex. 2 at 41. In responding to Liquidia’s expert’s batch-to-batch analysis, Dr. Fawzi

   analyzed batches of treprostinil made by the inventors under a UTC-improved former process and

   batches made under the asserted patents.8 Upon comparing these products, Dr. Fawzi concluded

   “there is a greater than 99.99% probability the overall purity” is “truly different” and “do not result

   from mere chance or batch-to-batch variation.” Fawzi Dec. Ex. 2 at 34 (stating also, e.g., the two

   “differ drastically with respect to the individual impurities in each product’s impurity profile.”).

   This analysis confirmed Dr. Fawzi’s opinion that the claimed process and products that Liquidia’s

   expert Dr. Winkler contended were representative of claim scope were in fact “structurally distinct

   from the prior art product.” Id. at 35. Notably, Liquidia argues there is no difference between the

   prior art product and the claimed product,




                                                                                    . See Flynn Dec. Ex.

   14 at 92:23-93:6; Flynn Dec. Ex. 13 at 44-47.

          Dependent claims 2-7 further limit the claimed “pharmaceutical composition”

   manufactured in claim 1 by adding additional limitations that materially alter the validity analysis

   as compared to the analysis performed by the ’393 Board. For example, claim 2 further requires

   that the claimed composition “salt is isolated in crystalline from”; claim 3 further requires that the

   claimed composition “base is selected from the group consisting of sodium, ammonia, potassium,


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            The validity analysis may not use the contributions of the inventors based on their own
   patent’s disclosure. Interconnect Planning Corp., 774 F.2d at 1138.



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   calcium, ethanolamine, diethanolamine, N-methylglucamine, and choline”; claim further 4

   requires the claimed composition “base is diethanolamine”; claim 5 further requires the claimed

   composition “base is combined with treprostinil that has not been previously isolated”; claim 6

   further requires the claimed composition “isolated salt is stored at ambient temperature”; and claim

   7 further requires the claimed composition “is a pharmaceutical solution.” Each of these limitations

   further narrow the scope of claim 1 and further narrow the structure of the claimed pharmaceutical

   composition recited in claim 1.

          To assess the validity of these composition claims, the trier of fact must make factual

   determinations relevant to the obviousness inquiry. See Innogenetics, N.V. v. Abbott Labs., 512

   F.3d 1363, 1378 n.6 (Fed. Cir. 2008) (“What a prior art reference discloses is, of course,

   a question of fact”). The ’393 Board never considered any of these limitations either in the context

   of the “product” claimed in the ’393 patent or in the context of the distinct “pharmaceutical

   composition” claimed in the ’066 patent. Accordingly, the validity analysis of these claims is

   materially different than what was previously litigated, considered or decided by the ’393 Board.

          Independent claim 8 of the ’066 patent (discussed above) is a process claim and claim 9

   claims the resulting product. By “forming a salt of treprostinil stable at ambient temperature” the

   claims explicitly require that the claimed product is of sufficient structure and purity to not degrade

   at higher temperatures than would be possible with a prior art product. See Flynn Dec. Ex. 3 at

   32:7-14; Walsh Dec. 10-12. This is due to the structure of the prior art material, which degrades

   by forming dimers of the treprostinil compound when exposed to ambient or elevated temperature,

   leading to more impurities and less yield for the ultimate pharmaceutical product. Id. Such an

   increase in impurities over time due to degradation is drastically minimized, if not negated, by

   claim 8’s process limitations, allowing for claim 9’s meaningfully more pure and stable product.




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          Rather than proving by clear and convincing evidence that the different claim limitations

   have no import, Liquidia asserts that “all three patents claim the same product”. Br. (D.I. 292) at 11.

   The claims, however, require specific “impurities” to be “lower” in the claimed “pharmaceutical

   composition” (’066 Patent, cls. 1-7) and that the claimed intermediate salt of treprostinil be stable

   at “ambient temperature” (id. cls. 8-9). These are structural and functional restrictions upon the

   product itself and therefore alter the required validity analysis. Moreover, it is Liquidia’s burden

   to prove that the question of validity is “substantially identical” to that adjudicated in the ’393 IPR.

   Liquidia did not even attempt that analysis.

          The fact that UTC informed FDA that the treprostinil drug substance it manufactures under

   the new process is pharmaceutically “equivalent” to treprostinil manufactured by UTC using the

   prior process fails to establish that the claimed products are the “same.” Cf. Br. (D.I. 292) at 14,

   14 n.10. First, pharmaceutical equivalence and patent claim scope are different concepts; the

   quality of an active pharmaceutical ingredient can be acceptable in the eyes of the FDA’s safety

   and toxicity framework, while still falling outside of a given patent claim directed towards that

   API. Thus, equivalence in FDA’s eyes says nothing about identicality of patent claim scope. See

   Flynn Dec. Ex. 10 Fawzi Dec. ¶¶8-12. Second, there is ample evidence that “analytically, there is

   a differentiation” between the treprostinil pharmaceutical products manufactured using the prior

   process compared to the patented processes.9 Flynn Dec. Ex. 10 at 266:21-267:3; see also Fawzi

   Dec.; Flynn Dec. Ex. 3 at 28:16-19, 29:10-11, 30: 19-20, 32:7-14, 32:18-33:20, 41:9-12, 44:15-

   45:2, 71:11-18 (“Salt formation got rid of almost all observable and known impurities”); see also



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            Liquidia says because the ’393, ’066 and ’901 patents were all Orange Book listed, “UTC
   cannot now contend that the ‘drug substance’ . . . is different among the three patents.” Br. at 13.
   Claims of varying scope can all cover the same drug substance without collapsing into identical
   claims. For example, a table could meet claims requiring “an end table,” “a dining table,” and a
   “foosball table,” but that does not mean each of those claimed tables are identical.



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   Walsh Dec.; Flynn Dec. Ex. 11 at 80:9-20, 346:15–347:1, 347:15-348:4; 350:15-20 (“we have

   improved our [FDA] specification. … [T]he assay for treprostinil is 98 to 102. Earlier it was 97 to,

   I believe, 101. So that itself is a change, and that must have gone through a reapproval.”).

                  3.      Determining the Level of Skill in the Art and Addressing Secondary
                          Considerations Preclude Collateral Estoppel

          Without a determination of a POSA’s level of skill “a district court cannot properly assess

   obviousness.” Custom Accessories, Inc. v. Jeffrey-Allan Indus., 807 F.2d 955, 962 (Fed. Cir. 1986);

   Westwood Chem. 525 F.2d at 1375. Determining a POSA’s level of skill turns on several

   subsidiary issues of fact. See Daiichi Sankyo Co., Ltd. v. Apotex, Inc., 501 F.3d 1254, 1256 (Fed.

   Cir. 2007) (examining, e.g., inventor’s experience, types of problems in the art, prior art solutions).

          The asserted patents are directed to controlling impurities and stability when

   “synthesi[zing] [treprostinil] on a large scale suitable for commercial production.” ’066 patent,

   1:66-2:3. UTC argues a POSA is “an experienced chemical engineer or process research chemist.”

   Fawzi Dec. Ex. 2 at 12; Walsh Dec. ¶¶ 1-9. Liquidia disagrees. This dispute dictates whether the

   POSA views the specification, claim scope, and prior art with an eye toward real-world

   manufacturing concerns or from eyes within the ivory tower. Especially when compared to the

   ’393 patent, where the reduction of impurities in, and stability of, the API composition is explicitly

   claimed. Similarly, the commercial success was not at-issue in the ’393 IPR and is disputed here.

   Ruiz, 234 F.3d at 667. These threshold issues of genuine material fact preclude summary judgment.

   VII.   CONCLUSION

          For the foregoing reasons, UTC respectfully requests that the Court deny Liquidia’s motion

   for summary judgment of invalidity of the ’066 and ’901 patents for collateral estoppel. The motion

   requires resolution of disputed material facts, and UTC should be entitled to defend the validity of

   the claims in the imminent trial rather than be estopped based on materially different claims.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 28, 2022, I caused the foregoing to be electronically filed

   with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

   registered participants.

          I further certify that I caused copies of the foregoing document to be served on January 28,

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